Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 1 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 2 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 3 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 4 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 5 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 6 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 7 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 8 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 9 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 10 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 11 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 12 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 13 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 14 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 15 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 16 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 17 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 18 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 19 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 20 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 21 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 22 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 23 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 24 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 25 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 26 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 27 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 28 of 29
Case 16-20960   Doc 64   Filed 02/17/17 Entered 02/17/17 10:05:04   Desc Main
                          Document     Page 29 of 29
